     Case 6:24-cr-00311-JHE      Document 2           Filed 08/13/24   Page 1 of 17            FILED
                                                                                      2024 Aug-16 AM 08:47
                                                                                      U.S. DISTRICT COURT
                                                                                          N.D. OF ALABAMA




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                         JASPER DIVISION

UNITED STATES OF AMERICA                       )
                                               )         Case No.
             v.                                )
                                               )
KAREN KIM ELSIE KELLY                          )

                              PLEA AGREEMENT

      The Government and the defendant, KAREN KIM ELSIE KELLY, hereby

acknowledge the following plea agreement in this case:

                                       PLEA

      The defendant agrees to (i) plead guilty to COUNT ONE of the Information

filed in the above-numbered and -captioned matter; and (ii) waive certain rights to

direct appeal and collateral attack as outlined in section IV of this agreement. In

exchange, the United States Attorney, acting on behalf of the Government and

through the undersigned Assistant United States Attorney, agree to recommend the

disposition specified below, subject to the conditions in section VII.




                                       Page I of 17            Defendant's Initials   ~
            Case 6:24-cr-00311-JHE        Document 2        Filed 08/13/24    Page 2 of 17




                                TERMS OF THE AGREEMENT

 I.          MAXIMUM PUNISHMENT

                    The defendant understands that the maximum statutory punishment that

      may be imposed for the crime of Deprivation of Rights under Color of Law, in

      violation of Title 18, United States Code, Section 242, as charged in COUNT ONE

      1s:

                    A.      Imprisonment for not more than one year;

                    B.      A fine of not more than 100,000.00, or;

                    C.      Both (a and b);

                    D.      Supervised release of not more than one year; and

                    E.      Special Assessment Fee of$25 per count.

II.          FACTUAL BASIS FOR PLEA

             The Government is prepared to prove, at a minimum, the following facts at

      the trial of this case:

         On January 12, 2023, the Walker County Jail (Jail) was headed by the elected
  Sheriff, the Jail Administrator, the Captain, and officers who served as shift
  supervisors over two day shifts and two night shifts. Each shift was staffed by several
  officers who performed various duties related to the care, custody, and control of the
  pre-trial and post-conviction detainees housed there. In general, officers typically,
  worked 12-hour shifts on a rotation of 4 days on, 4 days off, 3 days on, 3 days off
  over the course of a two-week period.

        While the Jail contained several dorms to house detainees, a limited number
  of inmates were held for limited periods in observation cells in the "Booking" area.
  Booking consisted of the Booking desk which formed the central hub of detainee


                                              Page 2 ofl7            Defendant's l nitials   ~
     Case 6:24-cr-00311-JHE       Document 2         Filed 08/13/24   Page 3 of 17




intake, jail movement, communication, and operations. Eight booking cells could be
directly observed by officers at the Booking desk several feet away. Among the eight
Booking cells, BK5 was unique in that it was essentially a cement box with a small
grate on the floor that opens into a hole for fluids to drain from the cell. Capable of
being "flushed" only from outside of the cell, BK5 was often referred to as the "drunk
tank" because it could easily be hosed down when inebriated people held there would
vomit. BK5 was unlike all other cells in the Jail, but for observation cell AH3, which
had no hole in the floor and was used only for holding detainees for hours at a time.

       BK5 did not have a sink, a toilet, access to any running water, or a raised
platform to be used as a bed. Detainees housed in BK5 depended on officers to escort
them to a toilet or shower and relied on officers to bring them food and wabr. BK5
was notoriously cold during winter months and the temperature on the bare cement
floor was even colder. A small window was located on the top half of the cell door,
and a larger window covered the bottom half of the door. This bottom window
(unique among the observation cells, other than AH3) offered considerably more
opportunity for observation from the Booking desk than any of the other Booking
cells.

       Medical and mental health services were provided by an outside contractor
hired by Walker County. As part of the booking process, all detainees booked into
the Jail were supposed to receive a medical and mental health screening to ensure
that emergent and urgent health needs were met and to determine, among other
things, their fitness for confinement. Jailers understood that if they became aware of
possible medical and mental health needs, they could alert nursing. In addition to the
nurses who served on regular shifts attending to the daily medical needs of the
inmates, there were two "providers" who acted as medical supervisors at the Jail: A
Nurse Practitioner and a Mental Health Practitioner, both of whom were available
to be consulted regarding the medical and mental health needs of the inmates.

      On January 12, 2023, Walker County Sheriff's deputies responded to the
home of Individual #1 in response to a request that they conduct a mental health
welfare check. Individual # 1 was arrested after he allegedly fired a gun while
deputies were on his property. Officers in the Jail became aware of his arrest through
the Sheriff's social media posts and conversations amongst themselves.

       Individual #1 remained detained at the Jail from January 12, 2023, through
January 26, 2023, and was housed in BK5. On January 26, 2023, he was transported
to the local hospital largely unresponsive in the back of a patrol vehicle rather than


                                       Page 3 of17             Defendant's Initials   ~
     Case 6:24-cr-00311-JHE      Document 2           Filed 08/13/24   Page 4 of 17




in an ambulance. Upon arrival, he suffered cardiac arrest from which he did not
recover. Emergency personnel documented his core body temperature as 72 degrees
Fahrenheit, a temperature incompatible with life.

       During Individual #1 's detention, defendant KELLY worked the night shifts
at the Jail on January 14th, 15th, 16th, 17th, and January 22nd, 23rd, and 24th, 2023
as a correctional officer, including acting as shift supervisor at times. During his
incarceration Individual #1 was housed in booking cell BK5. For most of that time,
he was housed naked, without a mat or blanket, left to lie on the cold, bare, cement
floor.

       Despite that cell being referred to as the drunk tank, defendant KELLY was
under the impression that Individual #1 was housed in BK5 upon orders of the Jail's
command staff because he was on suicide watch. She believed Individual #1 was on
suicide watch because she had been told by the day shift Lieutenant, who was on
duty when Individual #1 was initially admitted to the Jail, that he was on suicide
watch (LIEUTENANT #1). In addition, defendant KELLY was told by the night
shift Lieutenant who directly supervised her (LIEUTENANT #2), that the Nurse
Practitioner claimed that Individual # 1 was on suicide watch.

       Nonetheless, defendant KELLY never saw any documentation reflecting that
Individual #1 was on suicide watch, he was not treated as other suicide watch
inmates were treated, he was kept in BK5 much longer than any other "suicide
watch" inmates would be kept there, and he never demonstrated signs of self-harm
or suicidal ideation. In addition, she was told by LIEUTENANT #2 that the Nurse
Practitioner ceded her authority to determine who should be on or off suicide watch
to the command staff which was against Jail protocol as she understood it. She never
saw Jail staff take any actions directed at protecting Individual #1 from self-harm,
such as providing him mental health treatment.

        Defendant KELLY did not believe that Individual #1 's basic human needs
were being met. In addition to the cold, bare conditions Individual # 1 experienced
for a prolonged period, he and his cell were often filthy with feces and old food and
garbage that had not been collected by officers. On one occasion, after arranging for
the cell to be cleaned for the first time in days, LIEUTENANT # 1 berated her upon
discovering that the cell had been cleaned indicating to her that he intended the cell
to remain filthy and filled with garbage.




                                       Page 4 of 17             Defendant's Initials   ~
     Case 6:24-cr-00311-JHE      Document 2          Filed 08/13/24   Page 5 of 17




       Defendant KELLY had been told by LIEUTENANT #1 that Individual #1
was combative, suggesting a justification for keeping Individual # 1 in the conditions
under which he was housed. However, over the course of her seven shifts in which
Individual #1 was housed there, she never observed him behave in a combative
behavior. To the contrary, she witnessed Individual #1 rarely doing anything but
sitting or lying in his cell. Over time, Individual # 1 became obviously weaker
physically, appearing frail as days wore on. In addition, she was familiar with
countless inmates at the Jail over time who were far more threatening, combative, or
aggressive, and who routinely were housed in general population dorms or dorms
where inmates had access to toilets, showers, commissary, phone calls, and running
water.

      Moreover, Individual # 1 was barely communicative, appeared not to be lucid
much of the time, and appeared to be suffering from significant mental illness even
to those without medical or mental health training. As such, KELLY believed he
wasn't capable of effectively describing his needs or discomfort that ordinarily
would have been associated with conditions of confinement in which he was
maintained.

       Defendant KELLY saw no evidence that Individual # 1 was rece1vmg
necessary and routine medical or mental health services given that he remained
under the harsh conditions of BK5 and was allowed to deteriorate. Twice she asked
LIEUTENANT #2 whether steps could be taken to give Individual # 1 a mat or a
blanket and each time she was told that a member of the command staff insisted that
Individual # 1 remain under those conditions. Even in those rare instances that
Individual # 1 was provided with a shower, she was not permitted to provide a towel
or other fabric for Individual #1 to dry off before he returned nude to BK5 and its
cold temperatures, a result defendant KELLY describes as "inhumane." Based on
the totality of the circumstances, defendant KELLY believed that the Jail command
staff was purposefully keeping Individual # 1 in inhumane conditions.

       Defendant KELLY believed that Individual #1 ' s conditions of confinement
posed serious threats to his health and well-being. Nonetheless, desp!te the
inferences she drew in the face of the objectively obvious harmful conditions,
defendant KELLY did not express her concerns to anyone other than her immediate
supervisor even after they were ignored. The culture in the Jail was such that
defendant KELLY feared retaliation if she raised further questions about the
treatment oflndividual # 1. As such, defendant KELLY did not take reasonable steps
to alert appropriate authorities. Instead, she sought to avoid scrutiny from Jail


                                       Page 5 of17            Defendant's Initials   ~
            Case 6:24-cr-00311-JHE      Document 2         Filed 08/13/24   Page 6 of 17




       supervisors to remain employed there by failing to raise alarms about Individual# 1's
       deterioration and exposure to inhumane conditions.

             The defendant hereby stipulates that the facts stated above are

       substantially correct and that the Court can use these facts in calculating the

       defendant's sentence. The defendant further acknowledges that these facts do

       not constitute all the evidence of each and every act that the defendant and/or

       any co-conspirators may have com




III.         RECOMMENDED SENTENCE

             Subject to the limitations in section VII regarding subsequent conduct and

       pursuant to Fed. R. Crim. P. 1 l(c)(l)(B), the Government will recommend the

       following disposition:

             A.    That the defendant be awarded a two (2) level reduction in the
                   defendant's adjusted offense level, based upon the defendant's apparent
                   prompt recognition and affirmative acceptance of personal
                   responsibility for the defendant's criminal conduct. The Government
                   agrees to make a motion pursuant to USSG §3E 1.1 (b) for an additional
                   one-level decrease in recognition of the defendant's prompt notification
                   to the Government of the intention to enter a plea of guilty. The
                   Government may oppose any adjustment for acceptance of
                   responsibility if the defendant: (1) fails to admit each and every item
                   in the factual stipulation; (2) denies involvement in the offense;
                   (3) gives conflicting statements about the defendant's involvement in
                   the offense; (4) is untruthful with the Court, the Government, or the
                   United States Probation Officer; (5) obstructs or attempts to obstruct
                   justice prior to sentencing; (6) engages in any criminal conduct between


                                             Page 6 of17            Defendant's Initials   ~
          Case 6:24-cr-00311-JHE      Document 2          Filed 08/13/24   Page 7 of 17




                  the date of this agreement and the date of sentencing; or (7) attempts to
                  withdraw the defendant's plea of guilty for any reason other than those
                  expressly enumerated in the "Waiver of Right to Appeal and Post-
                  Conviction Relief' section of this Plea Agreement;

            B.    That the defendant be remanded to the custody of the Bureau of Prisons
                  and incarcerated for a term consistent within the advisory United States
                  Sentencing Guideline range as calculated by the Court at the time of
                  sentencing;

            C.    That following said term of imprisonment, the defendant be placed on
                  supervised release for a period to be determined by the Court, subject
                  to the Court's standard conditions of supervised release ;

            D.    That the defendant be required to pay a fine in accordance with the
                  sentencing guidelines should the Court determine that the defendant has
                  the ability to pay a fine, said amount due and owing as of the date
                  sentence is pronounced, with any outstanding balance to be paid in full
                  by the expiration of the term of supervised release; and,

            E.    That the defendant pay a special assessment of$25.00, said amount due
                  and owing as of the date sentence is pronounced.

IV.         WAIVERS

            A.    STATUTE OF LIMITATIONS WAIVER

            In consideration of the recommended disposition of this case, I, KAREN

      KIM ELSIE KELLY, hereby understand, acknowledge, and agree that if this

      plea agreement is set aside for any reason, I will not assert any defense based

      on any applicable statute of limitations or the Speedy Trial Act, 18 U.S.C.

      § 3161, et seq., that includes the passage of time from and including the date of

      this plea agreement until and including the date of entry of any order setting

      this plea agreement aside.

                                            Page 7 of17             Defendant's Initials   ~
     Case 6:24-cr-00311-JHE      Document 2            Filed 08/13/24   Page 8 of 17




      B.     RIGHT TO APPEAL AND POST-CONVICTION RELIEF

      In consideration of the recommended disposition of this case, I, KAREN

KIM ELSIE KELLY, hereby waive and give up my right to appeal my

conviction and/or sentence in this case, as well as any fines, restitution, and

forfeiture orders, the Court might impose. Further, I waive and give up the

right to challenge my conviction and/or sentence, any fines, restitution,

forfeiture orders imposed or the manner in which my conviction and/or

sentence, any fines, restitution, and forfeiture orders were determined in any

post-conviction proceeding, including, but not limited to, a motion brought

under 28 U.S.C. § 2255, and any argument that (1) the statute to which I am

pleading guilty is or are unconstitutional or (2) the admitted conduct does not

fall within the scope of the statute.

      The defendant reserves the right to contest in an appeal or post-

conviction proceeding(s) the following:

             1.    Any sentence imposed in excess of the applicable statutory
                   maximum sentence;

             2.    Any sentence imposed in excess of the Guidelines range
                   determined by the Court at the time sentence is imposed; and

             3.    Ineffective assistance of counsel.
      The defendant acknowledges that before giving up these rights, the

defendant discussed the United States Sentencing Guidelines and their


                                        Page 8 of 17             Defendant's Initials
     Case 6:24-cr-00311-JHE     Document 2         Filed 08/13/24   Page 9 of 17




application to the defendant's case with the defendant's attorney, who

explained them to the defendant's satisfaction. The defendant further

acknowledges and understands that the Government retains its right to appeal

where authorized by statute.

      C.    WAIVER OF RULE 410, RULE 11, AND SECTION 1B1.8(a)

      Defendant agrees that if she fails to comply with any of the provisions of

this agreement, including the failure to tender such agreement to the district

court, or attempts to withdraw the plea (prior to or after pleading guilty to the

charges identified in the agreement), the government will have the right to

characterize such conduct as a breach of the agreement. In the event of such a

breach, the defendant waives any protections afforded by Section 1B1.8(a) of

the Sentencing Guidelines, Rule 11 of the Federal Rules of Criminal Procedure,

and Rule 410 of the Federal Rules of Evidence, and the government will be free

to use against the defendant, directly and indirectly, in any criminal or civil

proceeding any of the information, statements, and materials provided by her

pursuant to this agreement, including offering into evidence or otherwise using

the attached Agreed Factual Basis for Guilty Plea.




                                     Page 9 of17            Defendant's Initials ~
          Case 6:24-cr-00311-JHE       Document 2        Filed 08/13/24   Page 10 of 17




            I, KAREN KIM ELSIE KELLY, hereby place my signature on the line

      directly below to signify that I fully understand the foregoing paragraphs, and

      that I am knowingly and voluntarily entering into this waiver.




V.          UNITED STATES SENTENCING GUIDELINES

            The defendant's counsel has explained to the defendant, that in light of the

      United States Supreme Court's decision in United States v. Booker, the federal

      sentencing guidelines are advisory in nature. Sentencing is in the Court's discretion

      and is not required to be within the guideline range. The defendant agrees that,

      pursuant to this agreement, the Court may use facts it finds by a preponderance of

      the evidence to reach an advisory guideline range, and the defendant explicitly

      waives any right to have those facts found by a jury beyond a reasonable doubt.

VI.         AGREEMENT NOT BINDING ON COURT

            The defendant fully and completely understands and agrees that it is the

      Court's duty to impose sentence upon the defendant and that any sentence

      recommended by the Government is NOT BINDING UPON THE COURT, and

      that the Court is not required to accept the Government's recommendation. Further,

      the defendant understands that if the Court does not accept the Government's

      recommendation, the defendant does not have the right to withdraw the guilty plea.



                                             Page 10 of 17          Defendant's lnitials- l l
            Case 6:24-cr-00311-JHE       Document 2       Filed 08/13/24   Page 11 of 17




 VII.         VOIDING OF AGREEMENT

              The defendant understands that if the defendant (a) violates any federal, state,

        or local law or any condition of pretrial release after entering into this plea

        agreement, (b) moves the Court to accept a plea of guilty in accordance with, or

        pursuant to, the provisions of North Carolina v. Alford, 400 U.S. 25 (l 970),

        (c) tenders a plea of nolo contendere to the charges, (d) violates any other term of

        this plea agreement, and/or (e) does or says anything that is inconsistent with the

        acceptance of responsibility, the plea agreement will become NULL and VOID at

        the election of the United States, and the United States will not be bound by any of

        the terms, conditions, or recommendations, express or implied, which are contained

        herein. Further, such election will not entitle the defendant to withdraw a previously

        entered plea.

VIII.         OTHER DISTRICTS AND JURISDICTIONS

              The defendant understands and agrees that this agreement DOES NOT BIND

        any other United States Attorney in any other district, or any other state or local

        authority.

 IX.          COLLECTION OF FINANCIAL OBLIGATION

              To facilitate the collection of financial obligations to be imposed m

        connection with this prosecution, the defendant agrees to:

           • fully disclose all assets in which the defendant has any interest or over which


                                               Page 11 of 17         Defendant's Initials~
    Case 6:24-cr-00311-JHE       Document 2       Filed 08/13/24    Page 12 of 17




      the defendant exercises control, directly or indirectly, including those held by

      a spouse, nominee or other third party;

   • promptly submit a completed financial statement to the United States

      Attorney's Office, in a form that it provides and as it directs;

   • identify all assets over which the defendant exercises or exercised control,

      directly or indirectly, within the past five years, or in which the defendant has

      or had during that time any financial interest;
        ,

   • take all steps as requested by the Government to obtain from any other parties

      by any lawful means any records of assets owned at any time by the defendant;

   • undergo any polygraph examination the Government may choose to

      administer concerning such assets and to provide and/or consent to the release

      of the defendant's tax returns for the previous five years.

      The defendant further agrees that the above information, as well as any of the

defendant's financial statements and disclosures, will be complete, accurate, and

truthful. Finally, the defendant expressly authorizes the United States Attorney's

Office to obtain a credit report on the defendant to evaluate the defendant's ability

to satisfy any financial obligation imposed by the Court.




                                       Page 12 of 17         Defendant's Initials~
          Case 6:24-cr-00311-JHE        Document 2       Filed 08/13/24   Page 13 of 17




X.          AGREEMENT REGARDING RELEVANT CONDUCT AND
            RESTITUTION

            As part of the defendant' s plea agreement, the defendant admits to the above

      facts associated with the charges and relevant conduct for any other acts. The

      defendant understands and agrees that the relevant conduct contained in the factual

      basis will be used by the Court to determine the defendant' s range of punishment

      under the advisory sentencing guidelines. The defendant admits that all the crimes

      listed in the factual basis are part of the same acts, scheme, and course of conduct.

      This agreement is not meant, however, to prohibit the United States Probation Office

      or the Court from considering any other acts and factors, which may constitute or

      relate to relevant conduct. Additionally, if this agreement contains any provisions

      providing for the dismissal of any counts, the defendant agrees to pay any

      appropriate restitution to each of the separate and proximate victims related to those

      counts should there be any and waives objection to the inclusion of that restitution

      in any order issued by the Court.

XI.         TAX, FORFEITURE AND OTHER CIVIL/ADMINISTRATIVE
            PROCEEDINGS

            Unless    otherwise specified herein, the defendant understands and

      acknowledges that this agreement does not apply to or in any way limit any pending

      or prospective proceedings related to the defendant's tax liabilities, if any, or to any

      pending or prospective forfeiture or other civil or administrative proceedings.


                                              Page 13 of 17         Defendant's lnitialsl i
             Case 6:24-cr-00311-JHE         Document 2        Filed 08/13/24    Page 14 of 17




 XII.          IMMIGRATION STATUS

               The defendant recognizes that pleading guilty may have consequences with

        respect to the defendant's immigration status if the defendant is not a citizen of the

        United States. Under federal law, a broad range of crimes are removable offenses,

        including the offense to which the defendant is pleading guilty. The defendant's

        guilty plea and conviction make it practically inevitable and a virtual certainty that

        the defendant will be removed or deported from the United States if the defendant is

        not a citizen of the United States. Removal and other immigration consequences are

        the subject of a separate proceeding, however; and the defendant understands that

        no one, including her attorney or the district court, can predict to a certainty the effect

        of her conviction on her immigration status. Understanding all of this, the defendant

        nevertheless affirms that the defendant wants to plead guilty regardless of any

        immigration consequences that her plea may entail, even if the consequence is her

        automatic removal from the United States.

XIII.          DEFENDANT'S ACKNOWLEDGEMENT

               I have read and understand the provisions of this plea agreement consisting of

        seventeen ( 17) pages. I have discussed the case and my constitutional and other

        rights with my lawyer. I am satisfied with my lawyer's representation in this case. I

        understand that by pleading guilty, I will be waiving and giving up my right to

        continue to plead not guilty, to a trial by jury, to the assistance of counsel at that trial,


                                                  Page 14 of 17           Defendant's Initials   ~
    Case 6:24-cr-00311-JHE       Document 2          Filed 08/13/24   Page 15 of 17




to confront, cross-examme, or compel the attendance of witnesses, to present

evidence on my behalf, to maintain my privilege against self-incrimination, and to

the presumption of innocence. I agree to enter my plea as indicated above on the

terms and conditions set forth herein.

      NO PROMISES OR REPRESENTATIONS OTHER THAN THOSE IN
      THE AGREEMENT HAVE BEEN MADE TO ME BY THE
      PROSECUTOR, OR BY ANYONE ELSE, NOR HAVE ANY THREATS
      BEEN MADE OR FORCE USED TO INDUCE ME TO PLEAD
      GUILTY.

      I further state that I have not had any drugs, medication, or alcohol within the

past 48 hours except as stated here:



      I understand that this plea agreement will take effect and will be binding as to

the Parties only after all necessary signatures have been affixed hereto.

      I have personally and voluntarily placed my initials on every page of this plea

agreement and have signed the signature line below to indicate that I have read,

understand, and approve all the provisions of this plea agreement, both individually

and as a total binding agreement.



                                         Defendant




                                         Page 15 of 17          Defendant's Initials ~   h
           Case 6:24-cr-00311-JHE       Document 2        Filed 08/13/24   Page 16 of 17




XIV.         COUNSEL'S ACKNOWLEDGMENT

             I have discussed this case with my client in detail and have advised my client

       of all my client' s rights and all possible defenses. My client has conveyed to me that

       my client understands this plea agreement and consents to all its terms. I believe the

       plea and disposition set forth herein are appropriate under the facts of this case and

       are in accord with my best judgment. I concur in the entry of the plea agreement on

       the terms and conditions set forth herein.




                                               Defendant's Counsel




                                               Page 16 of 17         Defendant's Initials   X:...X::--
             Case 6:24-cr-00311-JHE      Document 2        Filed 08/13/24   Page 17 of 17




XV.             GOVERNMENT'S ACKNOWLEDGMENT

                I have reviewed this matter and this plea agreement and concur that the plea

      and disposition set forth herein are appropriate and are in the interests of justice.

                                                PRIM F. ESCALONA
                                                United States Attorney




                                                MICHAEL A. ROYSTER
                                                Assistant United States Attorney


                                                KRISTEN CLARKE
                                                Assistant Attorney General
                                                Civil Rights Division



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                   DATE                        MARK BLUMBERG
                                               Special Legal Counsel
                                               Civil Rights Division


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                  DATE                          ANDREW CHERRY
                                                Trial Attorney
                                                Civil Rights Division




      (Revised June 2022)
                                                Page 17 of 17         Defendant's Initials '{   t
